                Case 3:08-cr-05407-RBL         Document 49         Filed 06/26/08      Page 1 of 2



 1                                                                  HONORABLE RONALD B. LEIGHTON
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 8                                    UNITED STATES DISTRICT COURT
                                     WESTERN DISTRICT OF WASHINGTON
 9                                             AT TACOMA
10     UNITED STATES OF AMERICA,
11                                                         Case No. CR08-5407RBL
                               Plaintiff,
12                     v.                                  ORDER
13     JEFFREY S. OGBURN,
14                             Defendant.
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17          THIS MATTER comes on before the above-entitled Court upon the Government’s Motion for

18   Detention [Dkt. #46]. Having considered the entirety of the records and file herein, having read the transcript

19   of the detention hearing before Magistrate Judge Janice H. Stewart in the United States District Court for the

20   District of Oregon, and having heard the argument of the parties, the Court finds and rules as follows:

21          On June 11, 2008 the defendant appeared in the District of Oregon, pursuant to Fed. R. Crim. P. 5(c),

22   was released on his personal recognizance with pretrial services supervision and directed to appear in this

23   district. On June 18, 2008 the defendant made his initial appearance in this district and was arraigned by

24   Magistrate Judge Brian A. Tsuchida. Judge Tuschida set the detention hearing before this Court.

25          The Court is concerned about the allegedly “lost” weapon and the threats to witnesses. However, the

26   witnesses testified before the Grand Jury nine months and three months ago. There has not been any reported

27   incidences of the threats being carried out, and the witnesses have testified that they did not feel threatened.

28   The Court is convinced that detention is not necessary. Therefore, the Court finds that there exists “conditions


     ORDER
     Page - 1
                 Case 3:08-cr-05407-RBL           Document 49         Filed 06/26/08      Page 2 of 2



 1   of release that will reasonably assure the appearance of [Mr. Ogburn] as required and the safety of any other
 2   person and the community[ ]” 18 U.S.C. §3142(g), and hereby continues the defendant on the bond set in the
 3   District of Oregon.
 4             IT IS SO ORDERED.
 5             The Clerk shall send uncertified copies of this order to all counsel of record, and to any party appearing
 6   pro se.
 7             Dated this 26th day of June, 2008.


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                                               RONALD B. LEIGHTON
10                                             UNITED STATES DISTRICT JUDGE
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     ORDER
     Page - 2
